                                          UNITED STATES BANKRUPTCY COURT
                                                  Northern District of Ohio

In re:    Angela R. Granata                                                                         Case No. ________________________

          0500                                                                                      Chapter    7

                               VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that
         the attached Master Mailing List of creditors, consisting of 0 sheet(s) is complete, correct and consistent with the
         debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     9/30/2005                                               Signed:
                                                                                      /s/ Angela R. Granata
                                                                                      ____________________________________________
                   ___________________
                                                                                      Angela R. Granata


         Signed:
                    /s/Estelle D. Flasck
                   ________________________________________________

                   /s/Estelle D. Flasck
                   Bar No.         0039627




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                       Akron General Medical Center
                       PO Box 931729
                       Cleveland, OH 44193-1836




                       Benefits Resources
                       100 Half Day Rd
                       P.O. Box 1463
                       Lincolnshire, IL 60069-1463


                       Brinks Home Security Inc.
                       Nationalo Support Center
                       8880 Esters Blvd.
                       Irving, TX 75063


                       CardMember Service
                       PO Box 15153
                       Wilmington, DE 19886-5153




                       Fifth Third Auto Leasing Trust
                       Northeastern Ohio
                       PO Box 630041
                       Cincinnati, OH 45263-0041


                       MBNA America
                       PO Box 15286
                       Wilmington, DE 19886-5286




                       National City Bank
                       6750 Miller Road
                       Brecksville, OH 44141




                       Retail Services
                       Dept. 7680
                       Carol Stream, IL 60116-7680




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(Official Form 1) (12/02)
  FORM B1
                               United States Bankruptcy Court                                                                               Voluntary Petition
                                  Northern District of Ohio
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse)(Last, First, Middle):
  Granata, Angela R.
 All Other Names used by the Debtor in the last 6 years                                        All Other Names used by the Joint Debtor in the last 6 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):


 Soc. Sec./Tax I.D. No. (if more than one, state all):                                         Soc. Sec./Tax I.D. No. (if more than one, state all):
  0500
 Street Address of Debtor (No. & Street, City, State & Zip Code):                              Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  1477 Gottschall Road
  Stow, OH 44224
 County of Residence or of the                                                                 County of Residence or of the
 Principal Place of Business: Summit                                                           Principal Place of Business:
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):


 Location of Principal Assets of Business Debtor
 (if different from street address above):

                                             Information Regarding the Debtor (Check the Applicable Boxes)
 Venue (Check any applicable box)
     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the date

 
     of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                 Type of Debtor (Check all boxes that apply)
                                          Railroad
                                                                                                            Chapter or Section of Bankruptcy Code Under Which

                                         Stockbroker
     Individual(s)                                                                                                  the Petition is Filed (Check one box)

 
     Corporation
                                          Commodity Broker                                                                  Chapter 11                          Chapter 13
                                                                                                Chapter                     Chapter 12
                                                                                                 Chapter 7
     Partnership
    Other                                Clearing Bank                                        Sec. 304 - Case ancillary to foreign proceeding
                                                                                                         9



                                          Business
                    Nature of Debts (Check one box)
   Consumer/Non-Business
                                                                                                                           Filing Fee (Check one box)

                                                                                               
                                                                                                      Full Filing Fee Attached
                                                                                                      Filing Fee to be paid in installments (Applicable to individuals only)
     Chapter 11 Small Business (Check all boxes that apply)
  Debtor is a small business as defined in 11 U.S.C. § 101                                           Must attach signed application for the court's consideration certifying

  Debtor is and elects to be considered a small business under                                       that the debtor is unable to pay fee except in installments.
                                                                                                      Rule 1006(b). See Official Form No. 3.
     11 U.S.C. § 1121(e) (Optional)

 Statistical/Administrative Information (Estimates only)
 
                                                                                                                                              THIS SPACE IS FOR COURT USE ONLY
     Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
     be no funds available for distribution to unsecured creditors.


                                                                                                             
                                               1-15          16-49         50-99     100-199    200-999       1000-over
 Estimated Number of Creditors

 Estimated Assets
       $0 to     $50,001 to     $100,001 to    $500,001 to           $1,000,001 to   $10,000,001 to       $50,000,001 to     More than

                                                                                                                           
      $50,000     $100,000       $500,000       $1 million            $10 million      $50 million         $100 million     $100 million


 Estimated Debts
       $0 to     $50,001 to     $100,001 to    $500,001 to           $1,000,001 to   $10,000,001 to       $50,000,001 to     More than

                                                                                                                           
      $50,000     $100,000       $500,000       $1 million            $10 million      $50 million         $100 million     $100 million




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(Official Form 1) (12/02)                                                                                                                                        FORM B1, Page 2

Voluntary Petition                                                                     Name of Debtor(s): Angela R. Granata
  (This page must be completed and filed in every case)
                               Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
 Location                                                                               Case Number:                                           Date Filed:
 Where Filed:        NONE
             Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                        Case Number:                                           Date Filed:
  NONE
 District:                                                                              Relationship:                                          Judge:


                                                                                   Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                                Exhibit A
 I declare under penalty of perjury that the information provided in this                    (To be completed if debtor is required to file periodic reports
 petition is true and correct.                                                               (e.g., forms 10Kand 10Q) with the Securities and Exchange
 [If petitioner is an individual whose debts are primarily consumer debts and has            Commission pursuant to Section 13 or 15(d) of the Securities

                                                                                          Exhibit A is attached and made a part of this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,              Exchange Act of 1934 and is requesting relief under chapter 11)
 11, 12 or 13 of title 11, United States Code, understand the relief available under
 each such chapter, and choose to proceed under chapter 7.
 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                                                  Exhibit B
                                                                                                                (To be completed if debtor is an individual
                                                                                                                whose debts are primarily consumer debts)
  X /s/ Angela R. Granata                                                                I, the attorney for the petitioner named in the foregoing petition, declare that
     Signature of Debtor
                                                                                         I have informed the petitioner that [he or she] may proceed under chapter
                                                                                         7, 11, 12, or 13 of title 11, United States Code, and have explained the
  X Not Applicable                                                                       relief available under each such chapter.
     Signature of Joint Debtor
                                                                                          X /s/Estelle D. Flasck                                        9/30/2005
                                                                                             Signature of Attorney for Debtor(s)                             Date
     Telephone Number (If not represented by attorney)

     9/30/2005                                                                                                                 Exhibit C
     Date                                                                                    Does the debtor own or have possession of any property that poses
                                                                                             or is alleged to pose a threat of imminent and identifiable harm to
                                 Signature of Attorney
                                                                                             public health or safety?
  X /s/Estelle D. Flasck                                                                              Yes, and Exhibit C is attached and made a part of this petition.
     Signature of Attorney for Debtor(s)
                                                                                                       No
     /s/Estelle D. Flasck, 0039627
                                                                                                             Signature of Non-Attorney Petition Preparer
     Printed Name of Attorney for Debtor(s) / Bar No.
                                                                                       I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
                                                                                       that I prepared this document for compensation, and that I have provided
     Flasck Legal Services                                                             the debtor with a copy of this document.
     Firm Name
                                                                                           Not Applicable
     1650 South Arlington Road Suite #1
                                                                                           Printed Name of Bankruptcy Petition Preparer
     Address
     Akron, Ohio 44306
                                                                                           Social Security Number
     330 773-7365                                                      330 773-7384
     Telephone Number                                                                      Address
     9/30/2005
     Date
                                                                                           Names and Social Security numbers of all other individuals who prepared
               Signature of Debtor (Corporation/Partnership)                               or assisted in preparing this document:
 I declare under penalty of perjury that the information provided in this
 petition is true and correct, and that I have been authorized to file this petition
 on behalf of the debtor.
 The debtor requests relief in accordance with the chapter of title 11, United
 States Code, specified in this petition.
                                                                                           If more than one person prepared this document, attach additional sheets
 X Not Applicable                                                                          conforming to the appropriate official form for each person.
     Signature of Authorized Individual
                                                                                       X Not Applicable
                                                                                           Signature of Bankruptcy Petition Preparer
     Printed Name of Authorized Individual
                                                                                           Date
     Title of Authorized Individual
                                                                                       A bankruptcy petition preparer's failure to comply with the provisions of
                                                                                       title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                       or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date




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FORM B6A
(6/90)

In re:   Angela R. Granata                                                                          ,          Case No.
                        Debtor                                                                                                             (If known)




                                   SCHEDULE A - REAL PROPERTY




                                                                           HUSBAND, WIFE, JOINT
                                                                                                                   CURRENT
                                                                                                               MARKET VALUE




                                                                             OR COMMUNITY
                                                                                                                OF DEBTOR'S
               DESCRIPTION AND                                                                                   INTEREST IN                       AMOUNT OF
                                                 NATURE OF DEBTOR'S
                 LOCATION OF                                                                                 PROPERTY WITHOUT                       SECURED
                                                INTEREST IN PROPERTY
                  PROPERTY                                                                                     DEDUCTING ANY                         CLAIM
                                                                                                              SECURED CLAIM
                                                                                                                OR EXEMPTION




 1477 Gottschall Road                       Fee Owner                                                                   $ 140,800.00                    $ 136,384.00
 Stow, OH 44224
 Parcel #56-04912
 Situated in the City of Stow, County of
 Summit and State of Ohio and known
 as being Lot No. 42 in the Silver Lake
 Little Farms Allotment as recorded in
 Plat Book 23, Page 66 of Summit
 County Records also that portion of
 vacated Roose Road. Ordinance
 1974-48 and the south one-half of
 vacated Fullager Road (a 45 foot strip)
 as vacated by Ordinance 1973-147.
 Be the same more or less, but subject
 to all legal highways.

                                                                   Total                                                $ 140,800.00
                                                                                                  (Report also on Summary of Schedules.)




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FORM B6B
(10/89)

In re     Angela R. Granata                                                                         ,   Case No.
                                       Debtor                                                                                               (If known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                CURRENT




                                                                                                                     OR COMMUNITY
                                                                                                                                            MARKET VALUE OF
                                                                                                                                           DEBTOR'S INTEREST

                                                   NONE
                                                                         DESCRIPTION AND LOCATION                                          IN PROPERTY, WITH-
             TYPE OF PROPERTY                                                  OF PROPERTY                                                 OUT DEDUCTING ANY
                                                                                                                                             SECURED CLAIM
                                                                                                                                              OR EXEMPTION



   1. Cash on hand                                 X

   2. Checking, savings or other financial                 Checking Account #02590721499                                                                   243.00
      accounts, certificates of deposit, or                Huntington Bank
      shares in banks, savings and loan, thrift,
      building and loan, and homestead
      associations, or credit unions, brokerage
      houses, or cooperatives.


                                                           Checking Account #58750843                                                                      143.21
                                                           Bank Atlantic
                                                           Florida
   3. Security deposits with public utilities,     X
      telephone companies, landlords, and
      others.


   4. Household goods and furnishings,                     bed, dresser, washer, dryer, stove, refrigerator,                                    200.00 per item
      including audio, video, and computer                 1997 HP computer, old stereo $200 per item
      equipment.


   5. Books, pictures and other art objects,       X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.


   6. Wearing apparel.                                     wearing apparel                                                                                 125.00

   7. Furs and jewelry.                            X

   8. Firearms and sports, photographic, and       X
      other hobby equipment.


   9. Interests in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.


 10. Annuities. Itemize and name each              X
     issuer.


 11. Interests in IRA, ERISA, Keogh, or other              401-K                                                                                         26,533.63
     pension or profit sharing plans. Itemize.


 12. Stock and interests in incorporated and       X
     unincorporated businesses. Itemize.


 13. Interests in partnerships or joint            X
     ventures. Itemize.




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FORM B6B
(10/89)

In re     Angela R. Granata                                                                         ,   Case No.
                                       Debtor                                                                                               (If known)



                                         SCHEDULE B - PERSONAL PROPERTY
                                                                       (Continuation Sheet)




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                CURRENT




                                                                                                                     OR COMMUNITY
                                                                                                                                            MARKET VALUE OF
                                                                                                                                           DEBTOR'S INTEREST

                                                    NONE
                                                                         DESCRIPTION AND LOCATION                                          IN PROPERTY, WITH-
            TYPE OF PROPERTY                                                   OF PROPERTY                                                 OUT DEDUCTING ANY
                                                                                                                                             SECURED CLAIM
                                                                                                                                              OR EXEMPTION



 14. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.


 15. Accounts receivable.                           X

 16. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 17. Other liquidated debts owing debtor            X
     including tax refunds. Give particulars.


 18. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule of Real Property.


 19. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.


 20. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 21. Patents, copyrights, and other                 X
     intellectual property. Give particulars.


 22. Licenses, franchises, and other general        X
     intangibles. Give particulars.


 23. Automobiles, trucks, trailers, and other               2002 Toyota (leased)                                                                         15,000.00
     vehicles and accessories.


 24. Boats, motors, and accessories.                X

 25. Aircraft and accessories.                      X

 26. Office equipment, furnishings, and             X
     supplies.


 27. Machinery, fixtures, equipment and             X
     supplies used in business.


 28. Inventory.                                     X




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FORM B6B
(10/89)

In re     Angela R. Granata                                                                     ,   Case No.
                                    Debtor                                                                                                 (If known)



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)




                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                               CURRENT




                                                                                                                    OR COMMUNITY
                                                                                                                                           MARKET VALUE OF
                                                                                                                                          DEBTOR'S INTEREST

                                               NONE
                                                                     DESCRIPTION AND LOCATION                                             IN PROPERTY, WITH-
            TYPE OF PROPERTY                                               OF PROPERTY                                                    OUT DEDUCTING ANY
                                                                                                                                            SECURED CLAIM
                                                                                                                                             OR EXEMPTION



 29. Animals.                                  X

 30. Crops - growing or harvested. Give        X
     particulars.


 31. Farming equipment and implements.         X

 32. Farm supplies, chemicals, and feed.       X

 33. Other personal property of any kind not   X
     already listed. Itemize.



                                                       2   continuation sheets attached                   Total                                     $ 42,044.84

                                                                                                               (Include amounts from any continuation sheets
                                                                                                               attached. Report total also on Summary of
                                                                                                               Schedules.)




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FORM B6C
(6/90)

In re    Angela R. Granata                                                                                , Case No.
                                      Debtor.                                                                                      (If known)



                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemption to which debtor is entitled under:


(Check one box)

   11 U.S.C. § 522(b)(1)        Exemptions provided in 11 U.S.C. § 522(d).        Note: These exemptions are available only in certain states.

 11 U.S.C. § 522(b)(2)         Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                                been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period
                                than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is
                                exempt from process under applicable nonbankruptcy law.



                                                                                                 VALUE OF                      CURRENT MARKET
                                                          SPECIFY LAW
                                                                                                 CLAIMED                      VALUE OF PROPERTY,
         DESCRIPTION OF PROPERTY                         PROVIDING EACH
                                                           EXEMPTION                            EXEMPTION                     WITHOUT DEDUCTING
                                                                                                                                  EXEMPTIONS

1477 Gottschall Road                       R.C. § 2329.66(A)(1)                                              0.00                               140,800.00
Stow, OH 44224
Parcel #56-04912
Situated in the City of Stow,
County of Summit and State of
Ohio and known as being Lot
No. 42 in the Silver Lake Little
Farms Allotment as recorded
in Plat Book 23, Page 66 of
Summit County Records also
that portion of vacated Roose
Road. Ordinance 1974-48 and
the south one-half of vacated
Fullager Road (a 45 foot strip)
as vacated by Ordinance
1973-147.
Be the same more or less, but
subject to all legal highways.
2002 Toyota (leased)                       R.C. § 2329.66(A)(2)                                              0.00                                15,000.00
NONE                                       R.C. § 2329.66(A)(10)(b)                                        100%                                  26,533.63
bed, dresser, washer, dryer,               R.C. § 2329.66(A)(4)(b)                             200.00 per item                         200.00 per item
stove, refrigerator, 1997 HP
computer, old stereo $200 per
item
Checking Account                           R.C. § 2329.66(A)(4)(a)                                        243.00                                   243.00
#02590721499
Huntington Bank
Checking Account #58750843                 R.C. § 2329.66(A)(4)(a)                                        143.21                                   143.21
Bank Atlantic
Florida
wearing apparel                            R.C. § 2329.66(A)(3)                                           150.00                                   125.00




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FORM B6D
(6/90)

In re:   Angela R. Granata                                                                                                       ,                                  Case No.


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                                                                                         AMOUNT




                                                                            HUSBAND, WIFE, JOINT
                                                                                                     DATE CLAIM WAS INCURRED,
                                                                                                                                                                                         OF CLAIM




                                                                                                                                                              UNLIQUIDATED
                                                                              OR COMMUNITY
                                                                                                        NATURE OF LIEN, AND




                                                                                                                                               CONTINGENT
                    CREDITOR'S NAME AND                                                                                                                                                                   UNSECURED




                                                                 CODEBTOR




                                                                                                                                                                             DISPUTED
                                                                                                      DESCRIPTION AND MARKET                                                             WITHOUT
                      MAILING ADDRESS                                                                                                                                                                      PORTION,
                                                                                                        VALUE OF PROPERTY                                                               DEDUCTING
                     INCLUDING ZIP CODE                                                                                                                                                                     IF ANY
                                                                                                          SUBJECT TO LIEN                                                                VALUE OF
                                                                                                                                                                                        COLLATERAL


ACCOUNT NO.
              0756719159                                                                                                                      X                                            15,000.00 0.00
Fifth Third Auto Leasing Trust                                                                     Security Agreement
                                                                                                   2002 Toyota (leased)
Northeastern Ohio
                                                                                                   __________________________
PO Box 630041                                                                                      VALUE $15,000.00
Cincinnati, OH 45263-0041


ACCOUNT NO.
                                                                                                   02/11/2004                                 X                                           136.384.00 0.00
National City Bank                                                                                 Mortgage
                                                                                                   1477 Gottschall Road
6750 Miller Road
                                                                                                   Stow, OH 44224
Brecksville, OH 44141                                                                              Parcel #56-04912

                                                                                                   __________________________
                                                                                                   VALUE $140,800.00




0 Continuation sheets attached
                                                                                                                                Subtotal                                                  $15,000.00
                                                                                                                                     (Total of this page)
                                                                                                                                     Total                                                $15,000.00
                                                                                                                            (Use only on last page)


                                                                                                                                                            (Report total also on Summary of Schedules)




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B6E
(Rev.4/98)

In re:       Angela R. Granata                                                                                    ,               Case No.
                                            Debtor                                                                                                 (If known)


                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                    (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


        Extensions of credit in an involuntary case

         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
         before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

  Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
         owing to qualifying independent sales representatives up to $4,650* per person earned within 90 days immediately preceding
         the filing of the original petition, or the cessation of business, whichever occurred first, to the extent provided in
         11 U.S.C. § 507(a)(3).

        Contributions to employee benefit plans

         Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
         petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Certain farmers and fishermen

         Claims of certain farmers and fishermen, up to $4,650* per farmer or fisherman, against the debtor, as provided in 11
         U.S.C. § 507(a)(5).

        Deposits by individuals

         Claims of individuals up to $2,100* for deposits for the purchase, lease, or rental of property or services for personal,
         family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

        Alimony, Maintenance, or Support

         Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in
         11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units

         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11
         U.S.C. § 507(a)(8).
        Commitments to Maintain the Capital of an Insured Depository Institution

         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency,
         or Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of
         an insured depository institution. 11 U.S.C. § 507(a)(9).

        Other Priority Debts

         * Amounts are subject to adjustment on April 1, 2004, and every three years thereafter with respect to cases commenced on or
         after the date of adjustment.




                                                                      1 Continuation sheets attached




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FORM B6E - Cont.
(10/89)

In re:     Angela R. Granata                                                                                                                ,          Case No.
                            Debtor                                                                                                                                                                  (If known)


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                                           HUSBAND, WIFE, JOINT
                                                                                                   DATE CLAIM WAS                                                                                                AMOUNT




                                                                                                                                                                   UNLIQUIDATED
                                                                             OR COMMUNITY




                                                                                                                                                      CONTINGENT
                                                                CODEBTOR
                   CREDITOR'S NAME AND                                                                                                                                                          TOTAL




                                                                                                                                                                                  DISPUTED
                                                                                                    INCURRED AND                                                                                                 ENTITLED
                     MAILING ADDRESS                                                               CONSIDERATION                                                                               AMOUNT               TO
                    INCLUDING ZIP CODE                                                                FOR CLAIM                                                                                OF CLAIM          PRIORITY



 ACCOUNT NO.




                                                                                                                                               Subtotal
Sheet no. 1 of 1 sheets attached to Schedule of Creditors Holding Priority Claims                                                  (Total of this page)
                                                                                                                                                                                                   $0.00
                                                                                                                                                Total
                                                                                                  (Use only on last page of the completed Schedule E.)
                                                                                                                                                                                                   $0.00
                                                                                                                                   (Report total also on Summary of Schedules)




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FORM B6F (Official Form 6F) - (9/97)


In re:    Angela R. Granata                                                                                                    ,              Case No.
                                  Debtor                                                                                                                                                (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

          Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                              UNLIQUIDATED
               CREDITOR'S NAME AND




                                                                                                                                                 CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                             DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                         AMOUNT OF
                INCLUDING ZIP CODE                                                                       IF CLAIM IS SUBJECT TO                                                             CLAIM
                                                                                                            SETOFF, SO STATE



ACCOUNT NO.           45700804001                                                                 06/21/2005                                                  X                                      667.26
Akron General Medical Center                                                                      #46074191001
PO Box 931729                                                                                     #45661352001 and ultrasond
Cleveland, OH 44193-1836



ACCOUNT NO.           269760500                                                                   12/03/2004                                                  X                                 14,419.00
Benefits Resources                                                                                loan
100 Half Day Rd
P.O. Box 1463
Lincolnshire, IL 60069-1463


ACCOUNT NO.           109169201                                                                                                                               X                                      260.77
Brinks Home Security Inc.                                                                         home security system
Nationalo Support Center
8880 Esters Blvd.
Irving, TX 75063


ACCOUNT NO.           4266901024212805                                                                                                                        X                                 12,234.27
CardMember Service                                                                                Disney Visa from Chase -
PO Box 15153                                                                                      #4266901024212805
Wilmington, DE 19886-5153                                                                         Chase Master Card- #5183370350666066



ACCOUNT NO.           4264293850093307                                                                                                                        X                                 16,657.54
MBNA America                                                                                      credit card
PO Box 15286
Wilmington, DE 19886-5286




                  1    Continuation sheets attached
                                                                                                                                   Subtotal
                                                                                                                                                                                              $44,238.84

                                                                                                                                     Total




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FORM B6F - Cont.
(10/89)

 In re:   Angela R. Granata                                                                                                                    ,                   Case No.
                                Debtor                                                                                                                                                                       (If known)


          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
              CREDITOR'S NAME AND




                                                                                                                                                                      CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                  DISPUTED
                MAILING ADDRESS                                                                      AND CONSIDERATION FOR CLAIM.                                                                                AMOUNT OF
               INCLUDING ZIP CODE                                                                        IF CLAIM IS SUBJECT TO                                                                                    CLAIM
                                                                                                            SETOFF, SO STATE



ACCOUNT NO.        593601101168381                                                                                                                                                 X                                       1,189.87
 Retail Services                                                                                  Furniture Row Express Money Card
 Dept. 7680
 Carol Stream, IL 60116-7680




Sheet no. 1 of 1 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                   Subtotal
                                                                                                                                                                                                                         $1,189.87
Claims                                                                                                                                      (Total of this page)

                                                                                                                                                         Total                                                         $45,428.71
                                                                                                          (Use only on last page of the completed Schedule F.)

                                                                                                                                                                                                        (Report also on Summary of Schedules)




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Form B6G
(10/89)

In re:    Angela R. Granata                                                                             Case No.
                                                                                                 ,
                                      Debtor                                                                               (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                            DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
               OF OTHER PARTIES TO LEASE OR CONTRACT.                                NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.




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B6H
(6/90)
In re:   Angela R. Granata                                                    ,   Case No.
              Debtor                                                                                  (If known)


                                              SCHEDULE H - CODEBTORS
           Check this box if debtor has no codebtors.



                       NAME AND ADDRESS OF CODEBTOR                         NAME AND ADDRESS OF CREDITOR




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FORM B6I
(6/90)
In re       Angela R. Granata                                                                , Case No.

                                                 Debtor                                                                        (If known)




           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
Debtor’s Marital
                                                              DEPENDENTS OF DEBTOR AND SPOUSE
Status: Divorced
Debtor’s Age:           42               NAMES                                                    AGE                          RELATIONSHIP
Spouse’s Age:                            None

EMPLOYMENT:                                          DEBTOR                                                    SPOUSE
Occupation                     Claim Report Administrator
Name of Employer               Currently on Medical Leave
How long employed              18 years
Address of Employer            Allstate Insurance Company
                               75 Executive Parkway
                               Hudson, OH 44236

Income: (Estimate of average monthly income)                                                              DEBTOR                   SPOUSE
Current monthly gross wages, salary, and commissions
(pro rate if not paid monthly.)                                                              $                     0.00 $
Estimated monthly overtime                                                                   $                     0.00 $

SUBTOTAL                                                                                     $                    0.00     $
        LESS PAYROLL DEDUCTIONS
        a. Payroll taxes and social security                                                  $                    0.00 $
                                                                                              $                    0.00 $
        b. Insurance
        c. Union dues                                                                         $                    0.00 $
        d. Other (Specify)                                                                    $                     0.00   $

 SUBTOTAL OF PAYROLL DEDUCTIONS                                                              $                     0.00 $
TOTAL NET MONTHLY TAKE HOME PAY                                                              $                     0.00 $
Regular income from operation of business or profession or farm
(attach detailed statement)                                                                  $                     0.00 $
Income from real property                                                                    $                     0.00 $
Interest and dividends                                                                       $                     0.00 $
Alimony, maintenance or support payments payable to the debtor for the
debtor’s use or that of dependents listed above.                                             $                     0.00 $
Social security or other government assistance
(Specify)                                                                                    $                     0.00 $
Pension or retirement income                                                                 $                     0.00 $
Other monthly income
(Specify)                                                                                     $                     0.00   $


TOTAL MONTHLY INCOME                                                                          $                    0.00 $

TOTAL COMBINED MONTHLY INCOME                                     $ 0.00                  (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following
the filing of this document:                           NONE




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Form B6J
(6/90)

  In re    Angela R. Granata                                                                               ,     Case No.
            Debtor                                                                                                              (If known)

              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

      Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
      schedule of expenditures labeled "Spouse".
Rent or home mortgage payment (include lot rented for mobile home)                                                      $                700.00
Are real estate taxes included?               Yes                       No         
Is property insurance included?               Yes                       No         
Utilities Electricity and heating fuel                                                                                  $                165.11
          Water and sewer                                                                                               $                 35.00
           Telephone                                                                                                    $                 90.00
           Other     cell phone                                                                                         $                 90.00
Home maintenance (repairs and upkeep)                                                                                   $                  0.00
Food                                                                                                                    $                175.00
Clothing                                                                                                                $                  0.00
Laundry and dry cleaning                                                                                                $                 10.00
Medical and dental expenses                                                                                             $                100.00
Transportation (not including car payments)                                                                             $                120.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                        $                  0.00
Charitable contributions                                                                                                $                 20.00
Insurance (not deducted from wages or included in home mortgage payments)
              Homeowner’s or renter’s                                                                                   $                 37.00
              Life                                                                                                      $                 32.05
              Health                                                                                                    $                137.00
              Auto                                                                                                      $                 48.00
             Other                                                                                                      $                    0.00
Taxes (not deducted from wages or included in home mortgage payments)
(Specify) property                                                                                                      $                178.17
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan)
              Auto                                                                                                      $                279.03
              Other    repayment of loan (401-K)                                                                        $                107.00
Alimony, maintenance or support paid to others                                                                          $                    0.00
Payments for support of additional dependents not living at your home                                                   $                    0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)                            $                    0.00
Other                                                                                                                   $                    0.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                            $             2,323.36
[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at
some other regular interval.
A. Total projected monthly income                                                                                       $
B. Total projected monthly expenses                                                                                     $
C. Excess income (A minus B)                                                                                            $
D. Total amount to be paid into plan each                                                                               $
                                                                                 (interval)




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Form B6
(6/90)


                                                        United States Bankruptcy Court
                                                            Northern District of Ohio
In re     Angela R. Granata                                                                          Case No.

                                                                                                     Chapter       7


                                                      SUMMARY OF SCHEDULES
                                                                                                         AMOUNTS SCHEDULED

                                           ATTACHED
           NAME OF SCHEDULE                              NO. OF SHEETS             ASSETS                       LIABILITIES              OTHER
                                            (YES/NO)


                                             YES                           $
  A - Real Property                                                   1                140,800.00

  B - Personal Property                      YES                           $
                                                                      3                  42,044.84

  C - Property Claimed
      as Exempt                              YES                      1

  D - Creditors Holding
                                             YES                      1                              $                 15,000.00
      Secured Claims

  E - Creditors Holding Unsecured
      Priority Claims
                                             YES                      2                              $                        0.00

  F - Creditors Holding Unsecured
                                             YES                      2                              $                 45,428.71
      Nonpriority Claims

  G - Executory Contracts and
      Unexpired Leases
                                             YES                      1

  H - Codebtors                              YES                      1
  I-     Current Income of
         Individual Debtor(s)                YES                      1                                                              $           0.00

  J - Current Expenditures of
      Individual Debtor(s)
                                             YES                      1                                                              $      2,323.36

                          Total Number of sheets
                                                                      14
                                   in ALL Schedules

                                                       Total Assets        $          182,844.84

                                                                               Total Liabilities     $                 60,428.71




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In re:   Angela R. Granata                                                                                                  Case No.
         0500

                  DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

 I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                              14 sheets plus the summary
page, and that they are true and correct to the best of my knowledge, information, and belief.




Date:       9/30/2005                                                              Signature /s/ Angela R. Granata
                                                                                               Angela R. Granata

                                                                                  [If joint case, both spouses must sign]


                                            DECLARATION UNDER PENALTY OF PERJURY
                                           ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                        (NOT APPLICABLE)




Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152
and 3571.




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                                              UNITED STATES BANKRUPTCY COURT
                                                      Northern District of Ohio
In re:   Angela R. Granata                                                                        Case No.
         0500                                                                                     Chapter    7

                                     STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from
          operation of the debtor's business from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this
          calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather
          than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
          chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
          spouses are separated and a joint petition is not filed.)
          AMOUNT                            SOURCE                                         FISCAL YEAR PERIOD


          32,624.00                         Allstate Insurance Company                     2003

          35,863.00                         Allstate Insurance Company                     2004

          22,065.19                         Allstate Insurance Company                     2005
                                            year to date (prior to medical leave)

          2. Income other than from employment or operation of business
None
   
          State the amount of income received by the debtor other than from employment, trade,
          profession, or operation of the debtor's business during the two years immediately preceding the
          commencement of this case. Give particulars. If a joint petition is filed, state income for each
          spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

          AMOUNT                             SOURCE                                        FISCAL YEAR PERIOD


          3. Payments to creditors
None
   
          a. List all payments on loans, installment purchases of goods or services, and other debts,
          aggregating more than $600 to any creditor, made within 90 days immediately preceding the
          commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
          payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
          separated and a joint petition is not filed.)

                                                              DATES OF                                AMOUNT              AMOUNT
          NAME AND ADDRESS OF CREDITOR                        PAYMENTS                                PAID                STILL OWING

          b. List all payments made within one year immediately preceding the commencement of this case
          to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12
          or chapter 13 must include payments by either or both spouses whether or not a joint petition is
          filed, unless the spouses are separated and a joint petition is not filed.)
None
   
          NAME AND ADDRESS OF CREDITOR                     DATES OF                                                        AMOUNT
          AND RELATIONSHIP TO DEBTOR                       PAYMENTS                                 AMOUNT PAID            STILL OWING




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       NAME AND ADDRESS OF CREDITOR                    DATES OF                                                    AMOUNT
       AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID          STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
  
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
       immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
       chapter 13 must include information concerning either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

       CAPTION OF SUIT                                                       COURT OR AGENCY                      STATUS OR
       AND CASE NUMBER                      NATURE OF PROCEEDING             AND LOCATION                         DISPOSITION




       b. Describe all property that has been attached, garnished or seized under any legal or equitable
       process within one year immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  
       NAME AND ADDRESS                                                                  DESCRIPTION
       OF PERSON FOR WHOSE                                   DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                           SEIZURE                     PROPERTY


       5. Repossessions, foreclosures and returns
None
  
       List all property that has been repossessed by a creditor, sold at a foreclosure sale,
       transferred through a deed in lieu of foreclosure or returned to the seller, within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning property of either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                           DATE OF REPOSSESSION,         DESCRIPTION
       NAME AND ADDRESS                                    FORECLOSURE SALE              AND VALUE OF
       OF CREDITOR OR SELLER                               TRANSFER OR RETURN            PROPERTY



       6. Assignments and receiverships
None
  
       a. Describe any assignment of property for the benefit of creditors made within 120 days
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                        TERMS OF
       NAME AND ADDRESS                                     DATE OF                     ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                  OR SETTLEMENT




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       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
       within one year immediately preceding the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  
                                                NAME AND ADDRESS                                          DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                 AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                   PROPERTY


       7. Gifts
None
  
            List all gifts or charitable contributions made within one year immediately preceding the
       commencement of this case except ordinary and usual gifts to family members aggregating less
       than $200 in value per individual family member and charitable contributions aggregating less
       than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
       or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)

       NAME AND ADDRESS                         RELATIONSHIP                                              DESCRIPTION
       OF PERSON                                TO DEBTOR,                    DATE                        AND VALUE OF
       OR ORGANIZATION                          IF ANY                        OF GIFT                     GIFT


       8. Losses

None
  
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding
       the commencement of this case or since the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                        DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                              LOSS


       9. Payments related to debt counseling or bankruptcy
None        List all payments made or property transferred by or on behalf of the debtor to any persons,
       including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
       or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.
       NAME AND ADDRESS
                                                               DATE OF PAYMENT,                    AMOUNT OF MONEY OR
       OF PAYEE                                                NAME OF PAYOR IF                    DESCRIPTION AND VALUE
                                                               OTHER THAN DEBTOR                   OF PROPERTY
       Flasck Legal Services                                   8-15-05                             600.00
       1650 S. Arlington Road
       Suite 1
       Akron, OH 44306


       10. Other transfers
None
  




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       a. List all other property, other than property transferred in the ordinary course of the business or
       financial affairs of the debtor, transferred either absolutely or as security within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of
       the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
       the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit
       unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                             TYPE AND NUMBER                      AMOUNT AND
       NAME AND ADDRESS                                      OF ACCOUNT AND                       DATE OF SALE
       OF INSTITUTION                                        AMOUNT OF FINAL BALANCE              OR CLOSING

       Huntington Bank                                       Money Market                         5,340.00

                                                                                                  6/02/05

       12. Safe deposit boxes
None
  
       List each safe deposit or other box or depository in which the debtor has or had securities,
       cash, or other valuables within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                    DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                             OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITORY               CONTENTS                       IF ANY


       13. Setoffs
None
  
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
       within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      DATE OF                                         AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                   SETOFF                                          SETOFF


       14. Property held for another person
None
  
       List all property owned by another person that the debtor holds or controls.

       NAME AND ADDRESS                                      DESCRIPTION AND VALUE
       OF OWNER                                              OF PROPERTY                          LOCATION OF PROPERTY




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        NAME AND ADDRESS                                       DESCRIPTION AND VALUE
        OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


        15. Prior address of debtor
None    If the debtor has moved within the two years immediately preceding the commencement of this
        case, list all premises which the debtor occupied during that period and vacated prior to the
        commencement of this case. If a joint petition is filed, report also any separate address of either
        spouse.

        ADDRESS                                                         NAME USED                               DATES OF OCCUPANCY

        Brandon, FL 33511                                               1653 Portsmouth Lake Drive              5-2004 - 11-2004

        Brandon, FL 33510                                               707 Forest Hills Drive                  3-2004 - 4-2004

         16. Spouses and Former Spouses
 None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
         California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year
         period immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former
         spouse who resides or resided with the debtor in the community property state.

         NAME

         Andrew Allen Balser
         Peter A. Tinney, Jr.

        17. Environmental Information.
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
        hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
        including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
                formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

        a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
        that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
        date of the notice, and, if known, the Environmental Law.
None
  
        SITE NAME AND                              NAME AND ADDRESS                    DATE OF                   ENVIRONMENTAL
        ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                    LAW


         b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
         Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

 None
   
         SITE NAME AND                        NAME AND ADDRESS                      DATE OF               ENVIRONMENTAL
         ADDRESS                              OF GOVERNMENTAL UNIT                  NOTICE                LAW




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          c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
          respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
          to the proceeding, and the docket number.
 None
   
          NAME AND ADDRESS                      DOCKET NUMBER                                         STATUS OR
          OF GOVERNMENTAL UNIT                                                                        DISPOSITION


         18. Nature, location and name of business
None
  
         a.      If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
         executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six years
         immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
         equity securities within the six years immediately preceding the commencement of this case.


         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
         business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
         percent or more of the voting or equity securities within the six years immediately preceding the
         commencement of this case.


         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
         business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
         percent or more of the voting or equity securities within the six years immediately preceding the
         commencement of this case.

                                  TAXPAYER                                                                          BEGINNING AND ENDING
         NAME                     I.D. NUMBER            ADDRESS                          NATURE OF BUSINESS        DATES



          b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
          U.S.C. § 101.
 None
         NAME                                                                      ADDRESS




                                                                  * * * * * *


   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

      Date 9/30/2005                                          Signature    /s/ Angela R. Granata
                                                              of Debtor    Angela R. Granata




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                                                UNITED STATES BANKRUPTCY COURT
                                                          Northern District of Ohio

 In re:   Angela R. Granata                                                                                          Case No.
          0500                                                                                                       Chapter       7

                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
    1.    I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
    2.    I intend to do the following with respect to the property of the estate which secures those consumer debts:

          a.   Property To Be Surrendered.

          Description of Property                                               Creditor's Name

                 None

          b.   Property To Be Retained.                                                   [Check any applicable statement.]


                                                                                               Property will        Debt will be
Description                                                                      Property      be redeemed          reaffirmed
of                                     Creditor's                                is claimed    pursuant to          pursuant to
Property                               Name                                      as exempt     11 U.S.C. § 722      11 U.S.C. § 524(c)   Other

 1. 2002 Toyota (leased)               Fifth Third Auto Leasing Trust                                                        X
 2. 1477 Gottschall Road               National City Bank                                                                    X
    Stow, OH 44224
    Parcel #56-04912

Date:     9/30/2005                                                                           /s/ Angela R. Granata
                                                                                              Signature of Debtor




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                                                        UNITED STATES BANKRUPTCY COURT
                                                                  Northern District of Ohio

In re:           Angela R. Granata                                                                                    Case No.
                 0500                                                                                                 Chapter         7
Debtor
                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $              600.00
          Prior to the filing of this statement I have received                                                                  $              600.00
          Balance Due                                                                                                            $                   0.00
2. The source of compensation paid to me was:

                 Debtor                                           Other (specify)
3. The source of compensation to be paid to me is:
                  Debtor                                           Other (specify)

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      [Other provisions as needed]
             amendments, objections, rescheduled hearings, adversarial hearings, debtors exam
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                         CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 9/30/2005

                                                                             /s/Estelle D. Flasck
                                                                             /s/Estelle D. Flasck, Bar No. 0039627
                                                                             Flasck Legal Services
                                                                             Attorney for Debtor(s)




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